Case 1:19-cv-01866-JPH-MJD Document 50 Filed 08/13/19 Page 1 of 8 PageID #: 266



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

 JOHN DOE,                                              )
                                                        )
                                Plaintiff,              )
                                                        )
                          v.                            )       No. 1:19-cv-01866-JPH-MJD
                                                        )
                                                        )
 INDIANA UNIVERSITY,                                    )
 G.G.,                                                  )
                                                        )
                                Defendants.             )


                ORDER ON MOTION TO PROCEED UNDER PSEUDONYM

        This matter is before the Court on Plaintiff’s Motion to Proceed Under Pseudonym [Dkt.

 40], requesting that the Court allow Plaintiff to pursue this action anonymously due to the nature

 of the allegations. For the reasons set forth below, the Court GRANTS Plaintiff’s Motion.

                                              I. Background

        In addition to common law claims of breach of contract and promissory estoppel,

 Plaintiff alleges violations of Title IX and due process under the Fifth and Fourteenth

 Amendments against Defendant Indiana University (“IU”). [Dkt. 1 at 17-24.] Moreover,

 Plaintiff alleges claims of defamation, false light, and intentional infliction of emotional distress

 against G.G. [Id. at 24-26.]

        As set forth in the Complaint, Plaintiff and G.G., both former IU students, attended a

 party on October 18, 2017. [Id. at 5.] At some point during the party, the two went to Plaintiff’s

 apartment, where they engaged in sexual activities. [Id. 5-6.] Ten months later, G.G. brought a

 complaint against Plaintiff for alleged sexual assault. [Id. at 6.] G.G. asserts that she was

 incapacitated during the sexual activity. [Id. at 7.] I.U. initiated proceedings against Plaintiff,



                                                   1
Case 1:19-cv-01866-JPH-MJD Document 50 Filed 08/13/19 Page 2 of 8 PageID #: 267



 and the Office of Student Conduct ultimately found Plaintiff “had violated the University’s

 Sexual Misconduct Policy because he ‘knew or reasonably should have known [G.G.] was

 incapacitated’ during sexual activity.” [Id. at 8.] Plaintiff was then suspended from I.U. for two

 years. [Id.]

                                        II. Legal Standard

        There is a strong presumption in favor of open proceedings in which all parties are

 identified, but federal courts also have discretion to allow a party to proceed anonymously. Doe

 v. Indiana Black Expo, Inc., 923 F. Supp. 137, 139 (S.D. Ind. 1996). The presumption that

 parties’ identities will be public information can be rebutted, however, by showing that the harm

 to the party exceeds the likely harm from concealment. Doe v. City of Chicago, 360 F.3d 667,

 669 (7th Cir. 2004).

        This Court has “an independent duty” to determine whether “exceptional circumstances”

 exist to justify a departure from the typical method of proceeding in federal court under a party’s

 real name. Id. at 669-70. The ultimate test for permitting a party to proceed anonymously is

 whether the party has a substantial privacy right that outweighs the “customary and

 constitutionally-embedded presumption of openness in judicial proceedings.” John Doe I-IV v.

 City of Indianapolis, No. 1:06-cv-865-RLY-WTL, 2006 WL 2289187, at *1-2 (S.D Ind. Aug. 7,

 2006). In determining whether to allow a party to proceed anonymously, the non-exhaustive

 factors articulated in EW v. New York Blood Center are helpful:

        (1) whether the [party] is challenging governmental activity or an individual’s
        actions; (2) whether the [party]’s action requires disclosure of information of the
        utmost intimacy; (3) whether the action requires disclosure of the [party]’s intention
        to engage in illegal conduct; (4) whether identification would put the [party] at risk
        of suffering physical or mental injury; (5) whether the [opposing party] would be
        prejudiced by allowing the [moving party] to proceed anonymously; and (6) the
        public interest in guaranteeing open access to proceedings without denying litigants
        access to the justice system.



                                                  2
Case 1:19-cv-01866-JPH-MJD Document 50 Filed 08/13/19 Page 3 of 8 PageID #: 268




 213 F.R.D. 108, 111 (E.D.N.Y. 2003); see also Doe v. Ind. Black Expo, 923 F. Supp. at 140

 (applying nearly identical five-factor test). Discretion when applying this test lies with the

 district court. K.F.P v. Dane County, 110 F.3d 516, 519 (7th Cir. 1997). The Court will address

 each of these factors in turn.

                                                   III. Discussion

          The list articulated by the Second Circuit and used in the Seventh Circuit is not a strict

 test that the Court must follow, nor is it an exhaustive list of factors. Rather, it presents a set of

 factors that help this Court weigh whether exceptional circumstances exist. Additionally, it is

 well-known that pseudonyms are generally allowed to protect the privacy of children, rape

 victims, and other particularly vulnerable parties or witnesses. Doe v. Blue Cross & Blue Shield

 United, 112 F.3d 869, 872 (7th Cir. 1997). In this case, G.G. alleges that she is a victim of

 sexual assault, so she clearly qualifies as a vulnerable party that has historically been allowed to

 proceed anonymously. 1 While Plaintiff filed this action in his own name, and opposed G.G.’s

 motion to proceed under pseudonym, Plaintiff claims that he was falsely accused of that sexual

 assault and therefore is also subject to the protection of anonymity. While Plaintiff’s motion

 acknowledged the five factor test set forth above, he made no effort to argue how those factors

 applied to his motion. The Court will attempt to analyze the factors in the absence of any

 assistance from Plaintiff on his own behalf.

          Plaintiff is challenging government activity, his suspension from I.U. That factor thus

 weighs in favor of anonymity.


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   The Court notes that regardless of whether a sexual assault victim, like G.G., is a plaintiff or defendant in a case,
 courts have referred to such victims by pseudonyms. See, e.g., Doe v. Ind. Univ. Bloomington, No. 1:16-cv-1480-
 JMS-DKL, 2016 WL 11553229 (S.D. Ind. Aug. 26, 2016) (granting Plaintiff’s Motion to Proceed under
 Pseudonym); Doe v. Univ. of Chicago, No. 1:16-cv-08298, 2017 WL 818859 (N.D. Ill. Mar. 2, 2017) (referring to
 the defendant, the alleged female victim, by pseudonym).


                                                             3
Case 1:19-cv-01866-JPH-MJD Document 50 Filed 08/13/19 Page 4 of 8 PageID #: 269



        Plaintiff argues that he was falsely accused of a sexual assault, and that this action will

 require disclosure of intimate information. [Dkt. 15 at 3; Dkt. 27 at 2.] The Court agrees. Such

 is demonstrated by the intimate details set forth in the Complaint, including Plaintiff and G.G.’s

 sexual activity, G.G.’s allegations of sexual assault, and IU’s findings. [Dkt. 1.] Accordingly,

 the second factor also weighs in favor of anonymity.

        Absent some argument from Plaintiff, it is more difficult to determine whether the third

 factor—whether the action requires disclosure of the [party]’s intention to engage in illegal

 conduct—supports Plaintiff’s motion. However, as this factor is not dispositive of the motion,

 the Court finds it to be neutral in weight.

        Next, Plaintiff argues that the fourth factor weighs strongly in favor of anonymity, as he

 risks being stigmatized by the community since “he is even more likely to be a victim of public

 censure and malice as a (wrongly) accused rapist.” [Dkt. 40 at 3.] Despite his change of heart

 on the anonymity issue, the Court finds that Plaintiff “has asserted legitimate circumstances

 under which he could suffer mental injury due to the personal and sensitive nature of [the]

 allegations.” Doe v. Marvel, No. 1:10-cv-1316-JMS-DML, 2010 WL 5099346 (S.D. Ind. Dec. 8,

 2010). Thus, the Court finds that the fourth factor favors anonymity as well.

        Under factor five, Defendants will not be prejudiced because they already know

 Plaintiff’s identity. See id.; Doe v. Individual Members of Indiana State Bd. of Law Examiners,

 No. 1:09-cv-0842-WTL-TAB, 2009 WL 2448468, at *3 (S.D. Ind. Aug. 8, 2009), objections

 overruled, No. 1:09-cv-842-WTL-JMS, 2010 WL 106580 (S.D. Ind. Jan. 4, 2010).

        Finally, the sixth factor recognizes the public interest in guaranteeing open access to

 proceedings without denying litigants access to the justice system. While there is a strong

 presumption in favor of proceeding with litigants’ real names, the Seventh Circuit has recognized




                                                  4
Case 1:19-cv-01866-JPH-MJD Document 50 Filed 08/13/19 Page 5 of 8 PageID #: 270



 an “exception” for “rape victims.” Blue Cross & Blue Shield United, 112 F.3d at 872; City of

 Chicago, 360 F.3d at 669. “In other words, the Seventh Circuit has weighed the public’s right to

 access against a [party’s] desire to adjudicate rape allegations anonymously and concluded that

 the scales favor anonymity.” Marvel, 2010 WL 5099346, at *3. The sixth factor, therefore, also

 favors anonymity because Plaintiff alleges he was falsely accused of sexual assault.

        Having balanced the factors, the Court finds that Plaintiff has overcome the strong

 presumption in favor of requiring a litigant’s name to be a matter of public record by showing

 that the harm to Plaintiff outweighs the likely harm of concealment.

                                            III. Conclusion

        For the reasons discussed above, the Court GRANTS Plaintiff’s Motion to Proceed

 Under Pseudonym. [Dkt. 40.]

        The Clerk is directed to PERMANENTLY SEAL the documents and all attachments

 that contain either Plaintiff or G.G.’s actual name (located at Docket Nos. 1, 2, 3, 4, 5, 6, 7, 8, 9,

 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 29, 30, 30, 31, 32, 33, 34,

 35, 36, 37, 38, 39, 40, 41, 42, 43, 44, 45, and 46), to change every mention of Plaintiff’s actual

 name in the docket entries to “John Doe” (located at Docket Nos. 1, 2, 6, 7, 10, 11, 21, 23, 24,

 25, 26, 40, 41, and 46), and to change every mention of G.G.’s actual name in the docket entries

 to “G.G.” (located at Docket Nos. 7, 13, 14, 15, 16, 17, 27, 28, 29, 30, 31, and 35). Further, the

 Clerk is directed to change Plaintiff’s name in the caption to John Doe, and Defendant’s name in

 the caption to “G.G.” and shall also change the short caption of this matter to “Doe v. Indiana

 University, et al.” Lastly, the Clerk is directed to UNSEAL the case.

        In light of the above, Plaintiff’s Motion to Seal [Dkt. 41], which asks the Court to seal

 various documents containing Plaintiff’s actual name, is DENIED AS MOOT.



                                                    5
Case 1:19-cv-01866-JPH-MJD Document 50 Filed 08/13/19 Page 6 of 8 PageID #: 271



       IT IS HEREBY ORDERED:

       1. Plaintiff may proceed in this case under the anonymous name of John Doe.

       2. Defendant may proceed in this case under the anonymous name of G.G.

       3. All exhibits, memoranda, affidavits, and other papers filed with the Court in

          connection with this action shall be written or redacted so as to exclude Plaintiff’s and

          G.G.’s true identities and to refer to Plaintiff and G.G. by their anonymous names.

       4. Any document filed in the future that contains either Plaintiff or G.G.’s actual name

          or identifying information shall have the name and identifying information redacted

          prior to filing and shall be replaced by Plaintiff or “G.G.” as appropriate.

       5. To minimize further confusion, the Clerk is directed to show the redacted versions of

          prior filings filed at Docket Nos. 43, 44, and 45 as STRICKEN from the docket.

       6. The parties are hereby ORDERED file redacted versions of their respective documents

          and attachments previously filed which will be permanently sealed by the Clerk. The

          CM/ECF filing event to be used is Redacted Document, and each redacted document

          shall be linked back to the previously-filed, unredacted, sealed document. Therefore,

          on or before August 27, 2019:

              a. Plaintiff shall file redacted versions of Docket Nos. 1, 2, 6, 7, 10, 21, 23, 24, 25,

                  26, 40, and 41.

              b. Defendant Indiana University shall file redacted versions of Docket Nos. 12,

                  18, 19, 32, and 37.

              c. Defendant G.G. shall file redacted versions of Docket Nos. 13, 14, 15, 16, 17,

                  27, 28, 29, 30, 31, 35, and 46.




                                                6
Case 1:19-cv-01866-JPH-MJD Document 50 Filed 08/13/19 Page 7 of 8 PageID #: 272



               d. Further, counsel for Plaintiff is ordered to redact consistent with this order and

                   file the redacted copies of the Court’s notice/orders at Docket Nos. 3, 4, 5, 8,

                   9, 11, 20, 22, 33, 34, 36, 38, 39, 42.

       7. Plaintiff’s counsel, Plaintiff, Plaintiff’s agents, Plaintiff’s assigns, or any other

           recipients of G.G.’s actual name or identifying information, shall not disclose the

           name to anyone, including without limitation to the public, to law enforcement, or the

           media, without leave of the Court.

       8. Defendant IU’s counsel, IU, IU’s agents, IU’s assigns, or any other recipients of

           Plaintiff or G.G.’s actual name or identifying information, shall not disclose the name

           to anyone, including without limitation to the public, to law enforcement, or the

           media, except for legitimate purposes relating to I.U.’s operations, without leave of

           the Court.

       9. G.G.’s counsel, G.G., G.G.’s agents, G.G.’s assigns, or any other recipients of

           Plaintiff’s actual name or identifying information, shall not disclose the name to

           anyone, including without limitation to the public, to law enforcement, or the media,

           without leave of the Court.

       10. Plaintiff’s counsel, Plaintiff, Plaintiff’s agents, Plaintiff’s assigns, or all other

           recipients of G.G.’s actual name or identifying information shall use the name for

           purposes of this litigation only. They shall not use the actual name or identity of G.G.

           for any other purpose.

       11. Defendant IU’s counsel, IU, IU’s agents, IU’s assigns, or all other recipients of

           Plaintiff or G.G.’s actual name or identifying information shall use their names for

           purposes of this litigation and for legitimate purposes relating to I.U.’s operations




                                                   7
Case 1:19-cv-01866-JPH-MJD Document 50 Filed 08/13/19 Page 8 of 8 PageID #: 273



            only. They shall not use the actual name or identity of Plaintiff or G.G. for any other

            purpose.

        12. G.G.’s counsel, G.G., G.G.’s agents, G.G.’s assigns, or any other recipients of

            Plaintiff’s actual name or identifying information shall use the name for purposes of

            this litigation only. They shall not use the actual name or identity of Plaintiff for any

            other purpose.

        13. The provisions of this Order shall survive the termination of the litigation.


            SO ORDERED.



            Dated: 13 AUG 2019




 Distribution:

 Service will be made electronically
 on all ECF-registered counsel of record via
 email generated by the court’s ECF system.




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